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VIA ECF

Honorable Joan M. Azrack, U.S.D.J.
United States District Court

Eastern District Of New York

100 Federal Plaza

Central Islip, New York 11722

Re: — Carlos Guzman and Manuel De Jesus Vasquez, individually and on behalf
of all others similarly situated vs. Bactolac Pharmaceutical, Inc., Choice Long
Island, Inc., Steven Klein and Harold Robbins

Index #: 22-CV-04651 (JMA)(ST)

Dear Honorable Judge Joan M. Azrack:

My law firm, along with Outside Legal Counsel, LLP, are counsel for the defendants
STEVEN KLEIN and HAROLD ROBBINS (hereinafter referred to as the “Klein Defendants”) in
the above-captioned action (hereinafter “Plaintiffs’ Pending Third Action”).

This correspondence is respectfully submitted, in accordance with Your Honor’s
Individual Practice Rule IV(B), to request permission to file a motion to dismiss the Complaint in
Plaintiffs’ Pending Third Action.

Initially, the Klein Defendants support the pending applications of the defendants
BACTOLAC PHARMACEUTICAL, INC. (hereinafter “Bactolac”) and CHOICE LONG
ISLAND, INC. (hereinafter “Choice”), to either dismiss this action based upon the Federal Rules
of Civil Procedure Two-Dismissal Rule, or to stay this action pending resolution of a parallel state
court proceeding. See, infra.

Rather than needlessly burden this Honorable Court with repetitive filings, initially the
Klein Defendants respectfully adopt and support the procedural history and legal arguments which
form the basis of the pending applications heretofore filed on behalf of both Bactolac and Choice.
See, ECF Doc. #’s 23 and 24.
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Secondly, while the Klein Defendants were not named as defendants in the parallel state
court action (Guzman, et al. vs. Bactolac Pharmaceutical, Inc., et. al., Supreme Court, Suffolk
County, Index # 602277/2021- “Plaintiffs’ Second [State Court] Action”), it is respectfully
submitted that any stay issued by this Honorable Court in Plaintiffs’ Pending Third Action, extends
to the Klein Defendants. The balance of equities, including promotion of judicial economy, and
not having the Klein Defendants engage in prejudicial duplicative and piecemeal litigation,
without being able to assert and pursue any available cross-claims against the co-defendants,
favors the extension of any stay to the Klein Defendants (See generally, Sica vs. Connecticutt, 331
F. Supp. 2d 82 (D. Conn 2004); Diamond “D” Constr. Corp. vs. McGowan, 282 F. 3d 191, 198
(24 Cir. 2002); Younger vs. Harris, 401 US 37, 54 (1971)), and pursuant to the abstention doctrine,
this Court should respectfully abstain from asserting its jurisdiction over Plaintiffs’ Pending Third
Action, effectively staying this matter, until the resolution of Plaintiffs’ Second [State Court]
Action. See, ECF Doc. #’s 23 and 24.

Furthermore, the Klein Defendants were named in the initial federal court action (Guzman,
et al. vs. Bactolac Pharmaceutical, Inc., et. al., United States District Court, Eastern District of
New York, Index # 21-cv-00658- the “Plaintiffs’ Initial Federal Court Action”), in which
essentially the same causes of action were raised by the same plaintiffs, which the plaintiffs herein
voluntarily discontinued to institute Plaintiffs’ Second [State Court] Action, only to thereafter
seek (again) to voluntarily discontinue to commence the subject Plaintiffs’ Pending Third Action,
including (again) against the Klein Defendants. As a general matter of law, under the two-
dismissal rule, “if [a] plaintiff previously dismissed any federal or state court action based on or
including the same claim, a [second] notice of dismissal operates as an adjudication on the merits.”
Lin vs. Shanghai City Corp., 2020 WL 624182 (2"4 Cir 2020). See also, Commercial Space
Management Co. vs. Boeing Co., 193 F. 3d 1074, (9 Cir 1999); Manning vs. S.C. Dep’t of
Highway & Pub. Transp., 914 F. 2d 44 (9" Cir 1999); Federal Rules of Civil Procedure
41(a)(1)(B).

Accordingly, it is respectfully submitted that Plaintiffs’ Pending Third Action violates the
two (2) dismissal rule, and as such, Plaintiffs’ Pending Third Action should be dismissed as against
all defendants herein.

Finally, assuming arguendo Plaintiffs’ Pending Third Action is not dismissed against all
defendants in accordance with any of the foregoing arguments, then it is respectfully submitted
that the Complaint fails to properly plead a viable cause of action, in whole or in part, as against
the Klein Defendants.

As a general matter law, for purposes of the causes of action raised in Plaintiffs’ Pending
Third Action, “[a]n employer may include an individual owner who exercises a sufficient level of
operational control in the company’s employment of employees”. See generally Kalloo vs.
Unlimited Mech. Co. of N.Y., Inc., 977 F. Supp 2d 187, 201, citing Irizzary vs. Catsimatidis, 722
F. 3d 99, 104-11 (24 Cir. 2013). However, in order to impose such liability upon such an
“individual owner’, it must be established that such “individual owner” exercised sufficient control
over said employees (such as having the power to hire and fire employees, supervising and
controlling employee work schedules or conditions of employment, determining the rate and
method of payment, and maintaining employment records). See generally, Gillain vs. Starjam
Rest. Corp., 07-cv-4672, 2009 WL 605790 (EDNY 2009).
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It is respectfully submitted that the Complaint in Plaintiffs’ Pending Third Action, as a
matter of law, fails as a matter of law to properly allege facts setting forth that the Klein Defendants
exercised sufficient control over the plaintiffs to be legally subject to individual liability herein.
Rather, all that is alleged is that the Klein Defendants were either founders, officers and/or
shareholders of Choice, who, in general, overbroad and boilerplate terms, without setting forth any
specific factual predicate, exercised sufficient level of operational control over Choice’s

employees to be considered an employer and thus subject to individual liability. See ECF Doc.
#1, par. 79-86.

It is therefore respectfully requested that this Honorable Court schedule a pre-motion
conference in contemplation of the filing of a Pre-Answer Motion to Dismiss on behalf of the
Klein Defendants.

We thank this Honorable Court for its time and attention, and we are available to provide
this Honorable Court with further information as may be needed to address and render a decision
on this application.

 

ce; All Defendants (Via ECF)
